
944 So.2d 1282 (2006)
STATE ex rel. Bobby R. YOUNG
v.
STATE of Louisiana.
No. 2006-KH-1256.
Supreme Court of Louisiana.
December 15, 2006.
In re Young, Bobby R.;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Caddo, 1st Judicial District Court Div. I, No. 211,534; to the Court of Appeal, Second Circuit, No. 40837-KH.
*1283 Denied. La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
